
138 P.3d 113 (2006)
157 Wash.2d 1012
STATE of Washington, Respondent,
v.
Stony Allen ZIMMERMAN, Petitioner.
No. 77944-9.
Supreme Court of Washington.
July 7, 2006.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Alexander and Justices Madsen, Bridge, Owens and J.M. Johnson, considered this matter at its July 6, 2006, Motion Calendar, and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the matter is remanded to the Court of Appeals Division Three for reconsideration in light of State v. Jackman, 156 Wash.2d 736, 132 P.3d 136 (2006).
